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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

V. Case No. 1:22-CR-354-RCL

RICHARD SLAUGHTER, and
CADEN PAUL GOTTERIED,

Defendants.

ORDER
Upon consideration of the documents sent by the defendants to the government and
provided to the Court, and defense counsel’s subsequent motions to withdraw, it is hereby
ORDERED that John M. Pierce’s Motion [92] to Withdraw and Roger I. Roots’ Motion [93] to
Withdraw are GRANTED.
It is further ORDERED that the documents sent by the defendants to the government are
hereby filed on the docket.

It is further ORDERED that the Motions Hearing set for 11/21/2023 is VACATED.

It is further ORDERED that the Jury Trial set for 12/1/2023 is CONTINUED to a date to

be determined in the future.

It is further ORDERED that a Status Conference is SET for 1/10/2024 at 12:30 pm in

Courtroom 15 in-person before Judge Royce C. Lamberth. The status conference is set for January
2024 so that the defendants will have adequate opportunity to find counsel. If the defendants do
not have counsel by January 10, a Federal Public Defender will appear alongside the defendants
at the hearing and assist them in securing counsel.

IT IS SO ORDERED.
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Date: November uw 2022 owe : Anti.

Royce C. Lamberth
United States District Judge
